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                                      Office of the Clerk
                     United States Court of Appeals for the Ninth Circuit
                                    Post Office Box 193939
                             San Francisco, California 94119-3939
                                         415-355-8000
Molly C. Dwyer
Clerk of Court                            May 04, 2022


       No.:         22-70084
       Short Title: Frank Atwood v. David Shinn


       Dear Petitioner/Counsel

       This is to acknowledge receipt of your Application for Permission to File a Second
       or Successive Habeas Corpus Petition.

       All subsequent letters and requests for information regarding this matter will be
       added to your file to be considered at the same time the cause is brought before the
       court.

       The file number and the title of your case should be shown in the upper right
       corner of your letter to the clerk's office. All correspondence should be directed to
       the above address pursuant to Circuit Rule 25-1.
